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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA

       v.

(1) AMY WINSLOW,
                                                            Case No. 23-cr-10094-PBS
(2) MOHAMMAD HOSSEIN MALEKNIA,
and
(3) REBA DAOUST,

                          Defendants.


                                  JOINT STATUS REPORT

       Pursuant to Local Rule 116.5(c), the parties hereby file the following joint status report

prepared in connection with the status conference scheduled for July 1, 2024.

(1)    No Request for Rule 11 Hearing

       No defendant requests that the case be transferred to the District Court for a Rule 11
       hearing.

(2)    Pretrial Conferences Before the District Court

       The Hon. Patti B. Saris conducted an Initial Status Conference on August 16, 2023, and
       issued a Pretrial Order (Dkt. 56), which set a trial date of September 16, 2024. On March
       5, 2024, Judge Saris issued an Amended Pretrial Order (Dkt. 87), which extended the dates
       for expert disclosures but kept the remaining dates, including the September 16, 2024 trial
       date, in place.

       On April 18, 2024, the defendants filed a motion to enforce the Amended Pretrial Order
       (Dkt. 104, 119), which the government opposed (Dkt. 114). The motion is pending with
       the Court.

       On May 30, 2024, the defendants filed an unopposed motion to continue the trial date (Dkt.
       122). At a Status Conference on June 17, 2024, Judge Saris allowed the motion and set a
       new trial date of April 7, 2025 (Dkt. 129). On June 25, 2024, the parties jointly submitted
       a proposed Second Amended Pretrial Order (Dkt. 132), which awaits endorsement by the
       Court.
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(A)   Discovery Produced

      Government’s Position

      The government has produced all discoverable material and information in the
      possession, custody, or control of the government under Local Rule 116(c). In total,
      the government’s productions have included more than two million Bates-stamped
      pages and files. With each production, the government produced an index
      describing the type and origin of documents pursuant to Local Rule 116.10.
      Although it exceeded the government’s obligations under federal and local rules,
      the government produced the following materials to narrow the issues and identify
      the relevant documents within the voluminous production: grand jury exhibits, law
      enforcement reports of potential witnesses, grand jury testimony of potential
      witnesses, and all immunity and proffer agreements, irrespective of whether the
      government intends to call the individual in its case-in-chief.

      The government is aware of its ongoing obligation to produce discovery.

      With its May 4, 2023, production, the government requested reciprocal discovery
      from the defendants; no such discovery has been produced at this time.

      Defendants’ Position

      The defendants acknowledge that the government has produced certain categories
      of discovery in advance of their obligations to do so under the Federal Rules of
      Criminal Procedure and Local Rules for the District of Massachusetts. However,
      based on the defendants’ ongoing review of discovery, the defendants contend that
      the government has failed to produce significant relevant materials that are required
      to be disclosed under the rules and pursuant to the government’s constitutional
      obligations. The deficiencies in the government’s productions to date were
      reflected in defendants’ February 1, 2024 discovery letter. The government
      responded to that letter on February 29, 2024. On March 1, 2024, the government
      produced few additional documents and no FDA internal communications and
      documents, or internal FDA materials related to the FDA’s investigation of the
      defendants, Magellan Diagnostics, and Becton Dickinson. As a result, on March
      26, 2024, after conferring with the government, the defendants filed a motion to
      compel (Dkt. 91). The Court heard argument at the status conference held on April
      25, 2024 (Dkt. 111). Following the April 25, 2024 hearing on the motion, the parties
      agreed to a procedure for obtaining additional discovery from the FDA. In light of
      the parties’ agreed-to procedure and representations made in joint status reports
      (Dkt. 115, 120) and at the May 29, 2024 status conference, the Court entered an
      order on May 31, 2024, withdrawing the defendants’ motion to compel without
      prejudice. Dkt. 126. To date, the government has not produced any documents in
      response to the defendants’ initial narrowed request for FDA documents.



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      Further discovery requests and motion practice may be necessary, regardless of
      timing and scope of any forthcoming FDA production or any other subsequent
      productions.

(B)   Discovery Requests and Timing of Additional Discovery Requests

      Defendants requested additional discovery by letter dated May 19, 2023, which the
      government responded to by letter dated June 2, 2023 and in productions dated May
      24, June 2, and June 23, 2023.

      Defendants requested additional discovery by letter dated June 12, 2023, which the
      government responded to by letter dated June 26, 2023 and in a production dated
      July 21, 2023.

      Defendants requested additional discovery by letter dated July 28, 2023, which the
      government responded to by letter dated August 11, 2023 and in productions dated
      August 14 and August 29, 2023.

      Defendants requested additional discovery by letter dated August 10, 2023, which
      the government responded to by letter dated August 24, 2023.

      Defendants requested additional discovery by letter dated October 16, 2023, which
      the government responded to by letter dated October 30, 2023 and in productions
      dated October 31 and November 14, 2023.

      Defendants requested additional discovery by letters dated February 1 and February
      14, 2024, which the government responded to by letter dated February 29, 2024
      and in a production dated March 1, 2024.

      On March 25, 2024, defendants requested that the government identify any alleged
      victims by a date certain. The government responded by email on March 29, 2024.
      The parties’ dispute regarding the timing of identification of any alleged victims is
      the subject of the defendants’ pending motion to enforce the Amended Pretrial
      Order (Dkt. 104, 114, 119).

      On March 26, 2024, the defendants filed a motion to compel production of certain
      FDA materials (Dkt. 91). Following the April 25, 2024 hearing on the motion, the
      parties agreed to a procedure for obtaining additional discovery from the FDA,
      which is underway. In light of the parties’ agreed-to procedure and representations
      made in joint status reports (Dkt. 115, 120) and at the May 29, 2024 status
      conference, the Court entered an order on May 31, 2024, withdrawing the
      defendants’ motion to compel without prejudice. Dkt. 126. To date, no documents
      have been produced pursuant to the parties’ agreed-to procedure.

      The defendants remain in the process of reviewing the government’s discovery
      produced to date and are evaluating the need for any additional requests.


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      Government’s Position:

      Any additional discovery requests shall be made, or discovery motions shall be
      filed, by August 31, 2024.

      Defendants’ Position:

      In light of the outstanding response to the defendants’ initial narrowed request for
      FDA documents following the April 25, 2024 hearing on the motion to compel and
      the government’s ongoing production of documents that are not the subject of the
      pending motion to compel, it is premature to set a final date for discovery motions
      or requests. Instead, the defendants request a further status conference in 30 days.

(C)   Motions Under Fed. R. Crim. P. 12(b)

      No dispositive or severance motions were filed on or before the December 4, 2023
      deadline. See Dkt. 69.

(D)   Periods of Excludable Delay under the Speedy Trial Act

      This Court has previously excluded the time from April 4, 2023 until July 1, 2024
      (Dkt. 15, 29, 39, 47, 63, 67, 74, 79, 96, 113, 125). The District Court excluded all
      time until April 7, 2025 (Dkt. 131), pursuant to 18 U.S.C. §3161(h)(7)(A), in the
      interests of justice, e.g., review of the case, review of evidence, investigation,
      evaluation of discovery and dispositive motions, and consideration of alternatives
      concerning how best to proceed with this matter, support the requested exclusion
      of time.

(E)   Estimated Length of Trial

      The government estimates its case in chief will take 20-25 trial days, including
      cross examination by the defendants. The defendants estimate that their defense
      case will take 6-8 trial days.




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                                             Respectfully submitted,

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Dated: June 26, 2024




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                                CERTIFICATE OF SERVICE

        Undersigned counsel certifies that this document was filed through the ECF system and
will be sent electronically to the registered participants as identified on the Notice of Electronic
Filing (NEF), and paper copies will be sent to those indicated as non-registered participants.

                                                             /s/ Kelly Begg Lawrence
                                                             Kelly Begg Lawrence
                                                             Assistant U.S. Attorney


Dated: June 26, 2024




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